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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

 

IN RE: SMITH & NEPHEW BIRMINGHAM | MDL No. 2775 °

 

 

 

 

HIP RESURFACING Master Docket No. 1:17-md-2775
(BHR) HIP IMPLANT PRODUCTS
LIABILITY LITIGATION JUDGE CATHERINE C. BLAKE
THIS DOCUMENT RELATES TO:
Mosca v. Smith & Nephew, Inc., No. 1:18-cv-
03520
MEMORANDUM

Pending before the court is a renewed motion for partial summary judgment in BHR track
action Phyliss Mosca v. Smith & Nephew, inc., No. 1:18-cv-03520. Smith & Nephew moves for
summary judgment as to Ms. Mosca’s negligence per se cause of action. (ECF 3001). The motion
has been fully briefed and oral argument was heard on October 13, 2021. For the reasons below,
the motion will be granted.

BACKGROUND

This case concerns alleged injuries suffered by Ms. Mosca as a result of her use of the
Birmingham Hip Resurfacing Device (“BHR”), an artificial hip implant developed, designed,
manufactured, and sold by defendant Smith & Nephew. ‘The BHR replaces the hip joint with metal
components—capping the femoral head with a metal covering and inserting a metal cup within the
acetabular cup—to recreate the same ball and socket structure that occurs naturally. Jn re Smith &
Nephew Birmingham Hip Resurfacing (BHR) Hip Implant Prod. Liab. Litig. (“In re BHR”), 300
F. Supp. 3d 732, 736 o. Md. 2018). The friction between the metal components allegedly can

cause metal debris to accumulate within the joint and blood stream of the patient. Metal debris
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from the device can cause pain, metallosis, and other serious complication that may require.
corrective surgery or revision to a different device. Jd. In 2015, Smith & Nephew voluntarily
recalled some BHR devices due to unreasonably high rates of failure in women and in men needing
femoral head sizes 46 mm or smaller, for reasons including complications due to metal debris. Ms.
Mosca claims she was one such patient—her BHR implant required revision to a different implant
due, in her surgeon’s and expert’s opinions, to symptoms caused by the accumulation of metal
debris.
PROCEDURAL HISTORY

On November 14, 2018, Ms. Mosca filed a complaint including eight counts against Smith
& Nephew under Maryland law: strict products liability (Count I, negligence (Count ID, strict
products liability for failure to warn (Count ID), negligent failure to warn (Count IV), negligent
misrepresentation (Count V), breach of express warranties (Count VII), manufacturing defect
(Count VIID, and punitive damages (Count IX). (ECF 2518-3, Ex. A, Mosca Short Form Compl).
Smith & Nephew moved to dismiss all of the plaintiffs’ claims in the BHR track, arguing they
were either preempted or insufficiently pleaded. The court dismissed all strict products liability
and strict products liability for failure to warn claims as expressly preempted (Counts I and III)
and the manufacturing defect claim (Count VII) for failure to state a claim. In re BHR, 300 F.
‘Supp. 3d at 743, 746, 750.

Following. substantial fact and expert discovery, the parties filed cross-motions for
summary judgment on March 12, 2021. (ECF 2514, Mosca MSJ; ECF 2518, Smith & Nephew
MSJ), which the court granted in part, denied in part, and reserved in part on July 19, 2021. (ECF
2905). On August 26, 2021, Smith & Nephew filed a renewed motion for summary judgment on

the late-raised issue of Ms. Mosca’s negligence claim being based on alleged violations of
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Maryland law. (ECF 3001, Smith & Nephew MSJ). Ms. Mosca responded (ECF 3056, Mosca
Opp’n), and Smith & Nephew replied. (ECF 3133, Smith & Nephew Reply).
STANDARD OF REVIEW |

Federal Rule of Civil Procedure 56(a) provides that summary judgment should be granted
“if the movant shows that there is no genuine dispute as to any material fact and the movant is
entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a) (emphases added). “A dispute is
genuine if ‘a reasonable jury could return a verdict for the nonmoving party.’” Libertarian Party
of Va. v. Judd, 718 F.3d 308, 313 (4th Cir. 2013) (quoting Dudaney v. Packaging Corp. of Am.,
673 F.3d 323, 330 (4th Cir. 2012)). “A fact is material if it ‘might affect the outcome of the suit
under the governing law.’” Jd (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248
(1986)). Accordingly, “the mere existence|of some alleged factual dispute between the parties will
not defeat an otherwise properly supported motion for summary judgment[.]” Anderson, 477 U.S.
at 247-48. The court must view the evidence in the light most favorable to the nonmoving party,
Tolan v. Cotton, 572 U.S. 650, 657 (2014) (per curiam), and draw all reasonable inferences in that
party’s favor, Scott v. Harris, 550 U.S. 372, 378 (2007) (citations omitted); see also Jacobs y. N.C.
Admin. Office of the Courts, 780 F.3d 562, 568-69 (4th Cir. 2015). At the same time, the court
must “prevent factually unsupported claims and defenses from proceeding to trial.” Bouchat y.
Balt. Ravens Football Club, Inc., 346 F.3d 514, 526 (4th Cir. 2003) (quoting Drewitt v. Pratt, 999
F.2d 774, 778-79 (4th Cir. 1993)), The relevant inquiry is whether the evidence “presents a
sufficient disagreement to require submission to a jury or whether it is so one-sided that one party
must prevail as a matter of law.” McAirlaids, Inc. v. Kimberly-Clark Corp., 756 F.3d 307, 310 (4th

Cir. 2014) (quoting Anderson, 477 U.S. at 255).

DISCUSSION
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Smith & Nephew raise several arguments in their motion for summary judgment. Most
persuasive among these is that § 21-256(6) of the Maryland Food, Drug, and Cosmetic Act
(MFDCA) is a law intended to protect the public at large, and thus cannot serve as the statutory
basis for a claim of negligence “per se.”! See Md. Code Ann., Health-Gen. § 21-256(6).

Under Maryland law:

To make out a prima facie case of negligence based on a statutory violation, a

plaintiff must show: 1) the violation of a statute designed to protect a specific class

of persons; 2) that plaintiff is a member of this class of persons; 3) that the harm

suffered by plaintiff is of the type that the statute was intended to protect against;

and 4) that the violation was the proximate cause of the plaintiff's injuries.
Hart v. A.CLE. Taxi, 442 F. Supp. 2d 268, 270 (D. Md. 2006). The use of statutory violations to
support negligence claims is “carefully circumscribed,” and Maryland courts “have always
required the statute or ordinance allegedly violated to set forth mandatory acts that are clearly for
the protection of a particular class of persons and not merely for the public as a whole.” Blackburn
Ltd. P’ship v. Paul, 438 Md. 100, 116, 116 n.11 (014) (internal citation omitted). A statute does
not create an enforceable tort duty when it merely “protects the public in general.” Baker v.
Montgomery Co., 427 Md. 691, 711 n.16 (2012).

There appears to be no binding precedent regarding whether § 21-256(6) of the MFDCA

creates an actionable tort duty.2 Smith & Nephew contends that the statute is designed to protect

the public at large, and thus does not form a statutory duty. See Hart, 442 F. Supp. 2d at 270.7 In

 

' Maryland does not recognize negligence per se as an independent cause of action; rather,
violation of an applicable statute may be evidence supporting a negligence claim. Bray v.
Marriott Int'l, 158 F. Supp. 3d 441, 445 (D. Md. 2016),

* The statute itself is terse. MFDCA § 21-256(6) (“A person may not, . . [d]isseminate any false
advertisement”).

> Generally, as this is a matter of first impression, declaring a new duty is a policy decision better
suited for the Maryland Court of Appeals or the Maryland General Assembly. See McKiver v.
Murphy-Brown, LIC, 980 F.3d 937, 963-64 (4th Cir.2020) (quoting Rhodes v. EJ. du Pont de
Nemours & Co., 636 F.3d 88, 96 (4th Cir. 2011) (“[I]n a diversity case, a federal court should not

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support of this proposition, Smith & Nephew cites Gourdine v. Crews, in which the Maryland
Court of Appeals rejected the FDCA as a basis of a negligence claim because it served to protect
the public in general. 405 Md. 722, 757-58 (2008) (“[A] statutory obligation which ‘runs to
everyone in general and no one in particular’ cannot impose a duty between two parties.” (internal
citation omitted)). The relevant portion of the FDCA is “parallel” to the MFDCA § 21-256(6),
addressing the same subject matter and content, so the analogy is apt. Compare 21 U.S.C. § 321,
ef seq. with Md. Code Ann., Health-Gen. § 21-256, ef seq.

Ms. Mosca notes that Gourdine was decided in the context of a third-party motorist who
invoked the FDCA after being harmed by a person who used a drug manufactured by the defendant
Eli Lilly. 405 Md. at 728. Asa rectpient of a regulated device who alleges she was directly injured
by the device, Ms. Mosca argues she is in a different position than the Gourdine plaintiff. The
holding of Gourdine, however, does not rely on the status of the plaintiff, but on the purpose of
the FDCA: to protect the public at large from false advertising of medical products, not only those
patients like Ms. Mosca who received the medical device. Jd at 790 (“These [FDCA]. . .
regulations, however, are framed to protect the public in general”). Further, the statutory language
in the MFDCA, like that in the FDCA, is broad and devoid of any mention of a subgroup of

individuals it seeks to protect.* Therefore, an alleged violation of the MFDCA may not serve as

 

interpret state law in a manner that may appear desirable to the federal court, but has not been
approved by the state whose law is at issue.”’).

' “Ms. Mosca argues that the court should follow Bray.v. Marriott Intl, 158 F. Supp. 3d at 444-

46, wherein the plaintiff, whose disability was covered by the Americans with Disabilities Act
(ADA), was allowed to proceed with a negligence action based upon violations of the ADA. Ms.
Bray’s case, however, relied on numerous ADA provisions that regulated for the exclusive
benefit of people with disabilities in the exact situation she alleged resulted in her injury. Jd. at
446, These provisions included statements on the inadequacy of certain types of shower grab
bars and seats, as well as the necessity of communication devices in showers accommodating |
people with disabilities. Jd The succinct and generalized wording of the MFDCA distinguishes

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the basis for a claim of negligence under Maryland law, as it is not intended to protect a specific
group of individuals to which Ms. Mosca belongs.

Because the court agrees that violation of the Maryland statute relied on by Ms. Mosca
cannot support a finding of negligence, there is no need to address the additional arguments raised
by Smith & Nephew in their motion.

CONCLUSION
For the reasons stated herein, Smith and Nephew’s motion to dismiss will be granted. A

separate Order follows.

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Date Catherine C. Blake
United States District Judge

 

 

this case from Bray, where the ADA’s specificity and identification of issues affecting only
people with disabilities could support a finding of negligence for statutory noncompliance.

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